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            EXHIBIT 134
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                    JPC INTERVIE                                                PR CESS

                      WC SECURITY

                •   Maintain focus on the interview at All times. Treat defendants with dignity, yet do not engage in
                    personal conversations that will slow down the process.
                •   Make sure that you and your personal items are secured.
                •   Never leave your personal belongings in the interview stations. Make sure they are secure.
                •   Never leave ink pens, pencils, markers, or anything that could be used as a weapon in reach of the
                    defendant.
                •   Never have any physical contact with the defendant.
                •   Do not allow defendants to use the work station phone or your personal phone.




                                     NEEDED          PROCESSINC:

                ❖   Prior to starting an interview open systems you need to use to toggle between screens in a swift and
                    efficient manner.
                        o   JWEB
                        o   (OMS) Offender Management System (Only accessible at JPC)
                        o   DEEDS
                                 ■   EP Que (Processing/Generating Bonds)
                                 ■   Docket Call (PC Docket)




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                                            DEFEf\JD/\NT INTERVIEW CHART

Financial Affidavit                   General Order Bond              Felony General Order        Exclusions - Mark
                                            (GOB}                     Bond (GOBF}                 Complete In OMS
New Charge(s) with 888888 Bond        Must be a misdemeanor           Must be a felony            Felony Alias Capias for Bond
                                                                                                  Forfeiture (ACF warrant)
Felony New charge with a Bond set     Case MUST have a $100           Case must have a $2500      Felony Alias Capias Warrant
                                      bond -Indicator                 bond - Indicator            (ACC Warrant)


Felony warrant: warrant capias        DIM 90 to verify                DIM 90 to verify            Alias Capias on Surrender of
(War,CAP) with Bond set               EP,   y                          :CP:   G                   Bond (ACS)


Misdemeanors Alias Capias for Bond    Must be a NEW CHARGE            Consult with supervisor     Capias Profine (CPF)
forfeiture (ACF Warrant)              - NOTE: look at the file        if bond is set at $2500
                                      date, if the date is showing    but the EP box is not
                                      before the current date it is   flagged "G" before
                                      not a new charge and more       processing
                                      than likely a warrant was
                                                                      EP:
                                      issued
Misdemeanors Alias Capias Warrant     CAP and WAR warrants            Exclusions: Evading         Bench Warrant (BCH) - Do
(ACC Warrant)                         - $100 bond, verify in LQY9     arrest with a vehicle and   not need to be added to the
                                      to make sure no other case      assault of a family         docket
                                      transactions are listed and     member
                                      no other warrants issued
                                      (ACI/REV B or ACF)

Misdemeanor and/or Felony Warrant:                                                                Capital Murder
Warrant (WAR) and Capias (CAP) with
888888 bond
All Misdemeanor (Except GOB's)




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                D~fendant.s, tha·t·•. m
                Order Bond {GOB), If yes .1s the answer  any of the below        to
                questions, DO Not proceed processing a GOB.




                0
                   ** Furtherresearch may need to be done:, however if the
                charge/warrant is any of these they will need a Financial Affidavit****
                E:xamp!e: misde.meanor, $100 bondf ACF/ACC Warrantw DO NOT
                PROCESS A. GOB

                *****When in Doubt speak to a supervisor, NEVER process a GOB if
                you are unsure*****




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                                    RETRIEVE REPORTS

               Prisoners Available for Pretrial Services:
                          1. Go to OMS (Offender Management System)
                          2. Select "Tools" from the upper left hand corner
                          3. Select "Global Report"
                          4. Click on the down arrow and select "Prisoners Available for Pretrial Services"
                          5. Click "View" in the bottom right hand corner
                          6. Print Global Report (Optional)
                                 1. Click "print icon" at bottom of screen


                                     Note: if icon disappears, hover at the bottom of report and it will
                                     reappear
                                  2. Alternative ways to print report:
                                          i. "Right Click" mouse then select print
                                         ii. Select "Ctrl" and letter "P" and press enter

               Prisoners Ready for Pretrial:

           Open an Intranet browser

               1. Under "Resources" click "Reports"

               2. Click "Pretrial Reports.aspx"

               3. Click "PSD"

           4. Select "OMS Prisoners Ready for Pretrial"

           5. Print Report

           Conduct Research
               1. Do a (LBKI) General Inquiry search to determine the bond amount. (Refer to defendant
               interview chart)

               2. Go to (LWRI) Warrant Inquiry screen to determine the type of warrant - if applicable (Refer
           to defendant interview chart)

               3. Go to (NQY3) Case Info screen to see if the offense is a new charge - if applicable (Refer to
           defendant interview chart)

           4. Go to (LQY8) Case Settings screen to determine if the defendant has previously been to
           court. NOTE: this is important because defendants will only need an interview or financial
           affidavit on a felony charge if it's their first time being arrested for that offense.




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           5. Go to DIM 90 to determine if a defendant has any additional pending charges. NOTE: it's
           extremely important to prevent defendants from reporting to (PC} Probable Cause prior to all
           charges being filed.

               6. Go to OMS-Process Dashboard to verify the process flows to make sure it aligns with the
               information from DIM 90 and LBKI. NOTE: LBKI, DIM 90, and OMS-Dashboard must reflect the
           same information. Information should not conflict between systems, if this occurs STOP
               immediately and consult with your supervisor.

           7. Proceed to the Financial Affidavit to begin.

               *Not all steps are required and they can be conducted in various orders*




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                                              PREPARATION FOR AN INTERVIEVJ

                  1. Go to OMS (Offender Management System)
                  2.   Locate the defendant in the dashboard by using the dashboard filters:
                          a.   SPN, Booking#, Last Name, First Name

               NOTE: Once you locate a defendant in the dashboard you can click on the name of the
           defendant to view the defendant's image. This will help you verify that you are interviewing the
           correct person.

                  3. Mark defendant in progress, this ensures only one PTO is working on a case at a time.




                         -
                  4. Call the defendant to your respective interview station. (Use Phone's PA system - refer to
           guide included in the supplemental information)

               NOTE: If the defendant responds proceed to step 5. If not, follow steps 4.A and 4.B

                               a.   If the defendant does not respond after multiple attempts, you must get with
                                    the location coordinator's desk (HCSO) to assist Pretrial in locating the
                                    defendant. Once the defendant is located proceed to step 5. If not, proceed
                                    to step 4.B
                               b.   If the HCSO verified, that the defendant is in segregation, suicidal, combative,
                                    mental health or not accessible to Pretrial, you can proceed to update
                                    defendant's process status to complete.
                                                   i.   Print an LBKI of the defendant, write the reason you were
                                                        unable to process the defendant in the upper right hand
                                                        corner and place in the interview tray.
                                                  ii.   Proceed to the next case



                                         Processing a financial affidavit
               1. Defendant's that require a Financial Affidavit only, will need to complete the following steps:

                               a.   Open a new intra net web browser
                               b.   From the left hand menu under "Resources" click "Forms"
                               c.   Select "Financial Affidavit (Fillable)" to begin.




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               2.   Processing a Financial Affidavit

                       a.   Name of the defendant must be obtained from the LQY8 screen.
                       b.   SPN#, Court Number, Cause Number and Offense must be obtained from JWEB.
                       c.   Select "Jail" from the drop down menu for "Defendant Status"
                       d.   List the "Number of people in a family or household (EXCLUDE DEFENDANT) that rely on
                            you for financial support". If there are none enter "O".
                       e.   Complete the address, employment and financial sections.
                                 i.   Employment Section:
                                          1.   IF the defendant states they are unemployed put "UNEMPLOYED" in
                                               that field. Follow up with "If not employed, my last job was ....... "
                                          2.   If they are employed, obtain their employment information and the "if
                                               not employed, my last job was" section is not necessary to ask.
                                ii.   Financial Section: NOTE
                                          1.   Monthly Income - Child support refers to if the defendant RECEIVES
                                               money for child support
                                          2.   Living Expenses - Child support refers to if the defendant makes any
                                               PAYMENTS for child support
                       f.   "What is the most money you could reasonably pay to get out of jail within 24 hours of
                            your arrest" should only be asked to defendants that have MISDEMEANORS.
                                 i.   Example: If a defendant has BOTH a Misdemeanor and a Felony, this would be
                                      asked since they have a Misdemeanor.
                       g.   Select "Yes or NO" for court appointed counsel.
                       h.   Review Financial Affidavit for accuracy
                       i.   Print one copy of the Financial Affidavit by selecting
                       j.   Ask the defendant to sign and date
                       k.   PTO will sign
                       I.   Place signed copy in the appropriate tray.
                       m. Defendants who refuse to complete a Financial Affidavit
                                 i.   Complete 6.A through 6.C
                                ii.   Towards the bottom of the page next to "defendant refused to provide data?"
                                      Select "Yes" from the drop down menu.
                               iii.   Print Financial Affidavit
                               iv.    Try to obtain defendant's signature. If the defendant refuses to sign, write
                                      defendant refuses to sign on signature line.
                                v.    PTO will sign.
                               vi.    Place signed copy in the appropriate tray.
                       n.   Mark Defendant "COMPLETE" in OMS.


                            NOTE: If the defendant is mental health or unable to refuse verbally to Pretrial
                            Complete steps 4.B.1




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                   BEFORE STARTING .AN INTERVIEW
                   YOU :hIUST READ THE BELO\V DISCLADJER BEFORE YOU START Al'T INTER\1E\V
                   VVITH ALL DEFENTFA.NH "*PLEASE READ YERBATlI\J TO EACH DEFElCDAl<fT•'*

                   ***** *HCPS DEFENDANT INTERVIEW DISCLAIMER (Effective 10/22/18}"**"*****
                   ENGLISH:
                   ! am [First Name] from Harris county< Pretr!a! services. t am here to interview ym1 and report your
                   ansv1ers to the court, What you tell me vii!! he used to make decisions about your release from jail.
                   ! 1uH1 ask you to provide financial information v/hlch v1m be used to decide whether a lawyer v-1m be
                   appointed in your defe11£e, Also, you will need to state the an1ount of rnoneythat you can afford to
                   pay for a bond within l4 homs of your arrest This amount indudes anv rm::mey you rnay have and
                   can obtain frorn family and friends while you are in jaiL ! viii I then also ask you to sign a paper vdth
                   the finanda! Information that you provided. Your ansv,;ers must be truthful under penalty' of lavs1,
                   False answers may be used against yoi.L The lnformahon Vii!! be shared v-Ath the court" the District
                   Attorney and possibly other agencies. You may refuse to complete the interview·, provide me viith
                   the finanda! Information, or both, You wm be allotved to talk to an attomev before your bail
                   hearing, You may decide to participate !nan !nterv!ew after speaking vtith your lavily<eL Do you
                   agree to go forward t"lith both the interview and providing financial tnfonnatton?




               ONLY APPLIES TO FINANCIAL AFFIDAVITS




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                           MISDEMANOR GENERAL ORDER
                               BOND INSTRUCTIONS
               Defendants that meet the below criteria will not qualify for a General Order Bond (GOB). If
               "Yes" is the answer to any of the below questions, DO NOT proceed processing a GOB.




               11
                    •criteria may chang.e, Verify with your supervisor ~riodically to entme: you ha,te the nmtt recent list••

           Criteria For GOB'S

                          1. Must be a misdemeanor

                          2. Case must have a $100 bond

           Systems Needed for Processing (TIP: Open all below systems before you start processing)

                          1. OMS (Offender Management System) - Only available at JPC (Joint Processing Center)

                           2. JWEB

                          3. DEEDS (Deputy Exploration of Electronic Documents)



               Documents/Reports Needed                                       logs to be updated

               1. Deeds                                                       1. General Order Bond Log (GOB)

               2. Prisoners Available for PTS Report from OMS                 2. Bond Acknowledgement Receipt Log

               3. Prisoners Ready for Pretrial (Intranet)

           4. General Conditions of Release (EP QUE)

           5. Court List {Intranet)




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               UNABLE TO

                    1. Refusal
                         a.    Print an LBKI of the defendant, write the reason why the GOB was not processed
                               and place in the interview tray.
                         b.    Make sure the GOB is added to a docket.
                    2.   If the HCSO verified, that the defendant is in segregation, suicidal, combative, not
                         accessible or mental health you can proceed to update defendant's process status to
                         complete.
                               a.    Print an LBKI of the defendant, write the reason why the GOB was not processed
                                    and place in the interview tray.
                               b.    Make sure the GOB is added to a docket.

               ***When changing the status to complete in OMS it does not automatically put them on the
           docket if you are unable to process a GOB. The District Clerk Must be notified to put them on
           the Docket***

               HOvV                         /\ (3ENER/\L ORDER BOND

               Use the reports to determine if a GOB case is available.

               1.   Go to DEEDS by opening a new web browser (Pretrial Service Intranet). NOTE: if the Pretrial Intranet
                    does not load, click the house shaped button         located inJhe upper right hand corner of the
                    screen.
               2.   From the left hand menu under "resources" click "Court & Case Information"
           3.       Click "District Court DEEDS" NOTE: the website may take a few minutes to upload.
           4.       Click "Early Presentment" from the top toolbar NOTE: the report may take a few minutes to upload.
           5.       Under "Bond", select "NONE"
           6.       Go back to OMS Dashboard
           7.       Locate the defendant by using the dashboard filters. NOTE: Click on the name of the defendant to
                    view the defendant's image. This will help you verify that you are processing the correct person
                              a.    SPN #, booking#, Last Name, First Name




                                      -
           8.       Mark defendant IN PROGRESS, this ensures only one PTO is working on a case at a time.




           9.       Call the defendant to your respective interview station.
                              a.    If defendant refuses or doesn't respond. Follow the protocol "Unable to process a GOB"
               10. From the Early Presentment Queue, select the defendant by clicking NOTEflt tust show "IN
                    CUSTODY to process.




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                          a.    If the case is not listed in the Early Presentment Queue, ADD case and process
                                accordingly.
                          b.    If not in the EP Queue, see How to Add GOB case to the Early Presentment Queue (EP
                                Queue)
               11. When the bond populates, select "Edit" and then "Simple Edit" view from upper left hand corner.




               12. Review and update defendant's information on the bond.
                         a.    Verify defendant's name, offense, case number and SPN number.
                         b.    Update the court date (can be obtained from LQY8/NQY3) and time (can be obtained
                               from court list)
                         c.    Correct Address: 1201 Franklin
                         d.    Check small box, if defendant agrees to receive future court date notifications by text
                               message.




                  13.                                                                              Complete all the
                  required fields starting at "Defendant DOB" and down.
                          a.    NOTE: "Def Relative" and Def Employer" alternate, so pay attention to ensure the
                                correct information is entered in the proper fields.
                          b.    NOTE: Verify the information that is prepopulated on the GOB bond and make
                                corrections if needed.




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                 14. Completing the bottom portion of the GOB Bond.
                        a.    Recipient: DC (District Clerk)
                        b.    Filer: Initials of the PTO processing the
                              GOB bond.
                        c.    Def Notified: Initials of the PTO who
                              instructed the defendant.
                        d.    HCJ: Place an X.                                                  izy:p
                                                                                        HLER
                        e.    Non Arrest and HPD fields are not
                                                                                                !WP
                              applicable to GOB'S.                                                                 ·•




                                                                                                X
                                                                                    NOARRES7·




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                 15. When complete click "Save" and then click "View/Sign"
                 16. Review bond for accuracy prior to apply electronic signatures.
                         a. If you need to make a change, go back to "EDIT" view to make the changes(s) then select
                         "Save" then "View/Sign".
                 17. Obtain defendant's electronic signature
                         a. Click the down arrow under the "signer" field and select "Defendant"
                                  i.     Ask defendant to sign using the electronic signature pad and when complete
                                         select "esign" to apply signature to the bond. NOTE: Make sure you have exited
                                         other GOB Screens you have already processed to avoid receiving an error
                                         message during this portion.




                 18. Apply PTO's electronic signature to the GOB bond.
                         a.   Click the down arrow under the "signer" field and select "Pretrial"
                         b.   Enter your PIN# and select "esign" to apply signature to bond. NOTE: Once the last
                              signature has been applied to the bond, you can no longer make any changes because
                              the system automatically files the bond in JWEB. If you need to make changes speak to a
                              supervisor.


                     NOTE: The system will automatically place a file date and time at the bottom of the bond after
                     you have obtained all signatures. It may require you to go back to "EDIT" view, then back to
                     "View/Sign" a few times before you see the file date and time at the bottom of the bond. If you
                     print it without the file date and time, you will be required to manually write the file date and
                     time on all copies. Go to Case Activity in JWEB to locate the time.
                 19. Print 2 copies of Bond
                         a.   Give one (1) copy to Defendant (Bond and General Conditions of Release)
                         b.   Keep one (1) copy for Pretrial (Bond and General Conditions of Release). Place Copy in
                              the appropriate tray.
                         c.   Exception: Give one (1) copy to the Clerk if the bond was done manually and (1) copy for
                              Central Records. NOTE: Representative MUST sign and acknowledge bond receipt. If
                              Central Records is not provided a copy of the bond, the defendant will not be released.
                 20. Complete "General Conditions Release" form.
                        a. Go back to the EP Queue and select the "General Conditions Release" icon for respective
                        GOB                         FMw        T
                                                    il 1:~tr
                        b. Have defendant electronically sign
                        c. Print two (2) copies
                                       i. Give one (1) copy to the defendant. Ii.




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                                                        ii.       Attach one (1) copy to the GOB for Pretrial
                             d. Exit out of document




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                 21. Review content of the bond with defendant and provide copy.

                 22. Update the defendant process status in OMS (Offender Management System) dashboard to
                 complete.

                 23. Click on the defendant's name of the GOB you just complete, scroll down and select "PTS
                 Bonded" then click "Save".

                 NOTE: Only select "PTS Bonded" if the defendant does NOT have any additional pending charges
                 which can be verified in DIM 90. If the defendant has holds you can still select "PTS Bonded"

                 24. Record GOB in the "General Order Bond log"

                 25. Record GOB on "Bond Acknowledgement Receipt log" - ONLY IF THE BOND WAS DONE
                 MANUALLY

                 26. Proceed to the next case.




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                      FELONY GENERAL ORDER BOND
                             INSTRUCTIONS
           Criteria

                  1. Must be a Felony
                  2. Case must have a $2500 bond
                  3. Charge(s) must be listed on the approved list of charges.


           Systems Needed for Processing (TIP: Open all below systems before you start processing)

                   1. OMS (Offender Management System) - Only available at JPC (Joint Processing Center)

                   2. JWEB

                   3. DEEDS (Deputy Exploration of Electronic Documents




               Documents/Reports Needed (Print is optional)

                   1. DEEDS (EP Que)

                    2. Prisoners Available for PTS Report from OMS (Offender Management System)

                   3. Prisoners Ready for Pretrial (Intranet)

                   4. Supervision Requirement Form

                   5. Court List (Intranet)




               logs to be updated

                   1. General Order Bond Log (GOB Log)

                   2. Bond Acknowledgement Receipt Log




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               1.   Do a LBKI inquiry to determine if the bond has been set at $2500. If yes, proceed to step 2
               2.   Locate the defendant in DIM 90 by using the defendant's last name, first name, DA LOG#, or CJIS #.
                    NOTE: Use the "Tran-Date" tool to narrow your search.
           3.       Click the small box that corresponds to your defendant, then select "Detail Log"
           4.       Find the specific case(s) you are trying to identify to see if the charge(s) are flag with the code "G"




           5.       If the bond is set at $2500 and the charge is not flagged "G" please consult with your supervisor.




                            1.   Refusal
                                     a.     Print an LBKI of the defendant, write the reason why the GOB-F was not
                                            processed and place in the interview tray.
                                     b. Make sure the GOB-F is added to a docket.
                            2.   If the HCSO verified, the defendant is in segregation, suicidal, combative, not accessible
                                 or mental health you can proceed to update defendant's process status to complete.
                                     a.     Print an LBKI of the defendant, write the reason why the GOB-F was not
                                            processed and place in the interview tray.
                                     b. Make sure the GOB-F is added to a docket.



                        Use the "Ready for Pretrial" reports to determine if a GOB-F case is available
                            Use the criteria to identify if it is a GOB-F
                                      Bond set at $2500
                                      Must be felony
                                      Locate the defendant in DIM 90 by using the defendant's last name, first name or
                                      DA Log#.
                                      Click the small box that corresponds to your defendant, then select "Detail Log''
                                      Find the specific case you are trying to identify to see if the charge is flagged with
                                      the code "G"
                                                             ff>:

                                          If the bond is set at $2500 and the charge is not flagged "G" please consult with
                                          your supervisor

                                                           EP:

                        2. Go to DEEDS by opening a new web browser (Pretrial Service Intranet)
                        3. From the left hand menu under "Resources" click "Court & Case Information"
                        4. Click "District Court DEEDs"




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                    6" Search Case#




                    7. Under "Bond", select "None"
                    8" Go back to OMS Dashboard
                    9" Locate the defendant by using the dashboard. NOTE: Click on the name of the defendant: to
                    view the defendant's image. This will help you verify that you are processing the correct person
                               :/, SPN # 1 booking#, Last name, First Name
                    10. Mark defendant in progress, this ensures only one PTO is working on a case at a time.



                      iiHii+ii
                    11. Call the defendant to your respective interview station.
                            a. If defendant: refuses or doesn't respond. Follow the protocol "Unable to process a
                                GOB-F'
                    12. From the Early Presentment Queue, select the defendant by clicking jJ NOTE: It must show
                    "In Custody"
                                  If the case is not listed in the Early Presentment Queue, ADD case and process
                                  accordingly




                                   DO NOT Process GOB-F until the defendant ls in front of you.
                                   If not in the EP Queue, see "How to add GOB-F case to the Early Presentment
                                   Queue"
                    1.3" When the bond populates, select "Simple Edit" view from upper left hand corner.




                    14. Review and update defendant's information on the bond
                                   Verify defendant's name, offense, case number and SPN
                                   Update the court date (NQY3) and time (refer to court list).
                                   Correct Address: Enter the Corresponding Court Address
                                   Check small box., if defendant agrees to receive future court date notifications
                                      by text message




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                                   Ask the defendant both "needs" questions on GOB-F
                                           Do you need assistance finding a home or permanent place to go upon
                                           release?
                                           Do you need transportation"?




                    15. Complete all the required fields starting at "Defendant DOB" and down
                            NOTE: "Def Relative' and "Def Employer" alternate, so place close attention to ensure
           the correct information is entered in the proper fields. Ask all Def Relative questions first and then all
           Def Employer questions so no confusion is added. NOTE: Verify the information that is prepopulated on
           the GOB-F bond and make corrections if needed.




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                      16. Completing the bottom portion of the GOB+ bond
                                       Recipient: DC (District Clerk)
                                       Filer: Initials of the PTO Processing the GOB-F bond
                                       Def Notified: Initials of the PTO who instructed the defendant
                                       HCJ: Place an "X"




               NOTE: Non Arrest and HPD fields are not applicable to GOB-F's
                      17. When complete click "save" and then click "view/sign''
                      1.8. Review bond for accuracy prior to applying electronic signatures
                                   a) If you need to make a change, go back to "EDIT" view to make the change(s)
                                      then select "save" then "'view/sign"
                      1.9. Obtain defendant's electronic signature
                                   a) Click the down arrow under the "signer" field and select "Defendant"
                                                 L     Ask defendant to sign using the electronic signature pad and
                                                       when complete select "esign" to apply signature to the bond.
                                                       NOTE: make sure you have exited other GOB-F's screens, you
                                                       have already processed to avoid receiving an error message
                                                       during this portion

                                                     SiJ~tt ., .................................... P@t



                      20. Apply PTO's electronic signature to the GOB+ bond
                                  a)   Click the down arrow under the "signer'·' field and select "pretrial"
                                  b)   Enter your PIN# and select "esign" to apply signature to bond. NOTE: Once the
                                       last signature has been applied to the bond, you can no longer make any
                                       changes because the system automatically files the bond in JWEB. If you need to
                                       make changes speak to a supervisor.
                                  c)   GOB'F's allow for manual input for the file date/time. If you print it without the
                                       file date and time, you will be required to manually write the file date and time
                                       on all copies. Go to Case Activity in JWEB to find the time.

                      2:L Print 2 copies of Bond: NOTE: Stamp all RIC Bonds with the appropriate "RIC Stamp"
                                       Give one (1) copy to Defendant (Bond, Supervision Form and Referral Form)
                                       Place one (1.) copy of GOB+ in "Approval" Tray (Bond and Supervision
                                       Requirement Form)
                                       Exception: Deliver one (l) copy to District Clerk (Bond) if Bond was done
                                       manually and for Central Records (Representative MUST sign and acknowledge
                                       bond receipt)




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                          NOTE: If Central Records is not provided a copy of the bond, the defendant will not be
                          released

                    22. Complete "Supervision Requirement'' form
                                   Go to Intranet
                                   Click "Forms''
                                   Click "Supervision Requirement English Fillable' , "Supervision Requirement
                                   Spanish Fillable" or "Supervision Requirements (RIC ONLY)
                                   Complete fillable filed with associated GOB-F
                                   Print two (2) copies
                                                    Give one (1) copy to the defendant
                                                    Attached (:J.) copy to the GOB-F for Pretrial
                    23. Review content of the bond with defendant and provide copy
                    24. Update the defendant process status in OMS dashboard from In-Progress to complete



                    25. Click the defendant's name of the GOB-F you just completed, scroll down and select "PTS
                    Bonded'' then click "save"
                                   You only need to select "PTS Bonded" if the defendant does not have additional
                                   pending charges.
                                   "PTS Bonded" will alert the Sheriffs that they can start processing his/her
                                   release. Do NOT select "PTS Bonded" if defendant has additional pending
                                   charges.
                    2.6. Record GOB-Fin the "General Order Bond Log"- Def Name/SPN, Court/Cause/Filed By, File
                    Time
                    2.7. Record GOB--F on "Bond Acknowledgement Receipt Log"-- ONLY TO BE USED IF A BOND WAS
                    DONE MANUALLY
                    28. Proceed to the next case




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